Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 1 of
                                     20




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:20-cv-00078-CMA-SKC

  S.T.C.

           Plaintiff,

  v.

  JEFFERSON COUNTY R1 SCHOOL DISTRICT, JEFF GOMEZ, and WILLIAM CARLIN.
       Defendants.



           PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION FOR SUMMARY
                            JUDGEMENT (ECF NO. 134)




           Plaintiff S.T.C., through undersigned counsel, respectfully responds to Defendants’

  Motion for Summary Judgment (ECF No. 134) and in support thereof, provides as follows:

              RESPONSE TO STATEMENT OF UNDISPUTED MATERIAL FACTS

  1. Plaintiff does not dispute Defendants’ Undisputed Material Facts (“UMF”) contained in

       paragraphs: 1-14, 16, 18-19, 21-29, 31, 33-41, 43-44, 48, 50-52, 54-59, 61-63, 66, 69-71,

       73-76, 78-85, 87, 89-111, 114-117, 119-123.

  2. Response to Paragraph 15: Deny. Defendant Carlin told STC and her mother during theMay

       16 meeting that this is how boys show you that they like you. Perhaps Defendant Carlin

       believed this to be an effort to comfort a victim of sexual assault. Defendant Carlin gave no

       indication that he would try to address her concerns. Ex. 6, ¶¶ 36-40; Ex. 7, ¶¶ 9-10.




                                                                                                       1
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 2 of
                                     20




  3. Response to Paragraph 17: Deny. STC reported Titty Touch Tuesday and Slap Ass Friday to

     her Counselor, Allison MacDonald in the beginning of Seventh Grade. Ex. 10, 110:5-16.

  4. Response to Paragraph 20: Deny. Cuney told Carlin that he needed to “turn [his files] over to

     [Cuney]” and that “school discipline was his concern” but that it shouldn’t interfere with the

     police investigation. Moreover, Cuney told Carlin that “he needs to turn over everything he

     had up until that point. Ex. 11, p. 2.

  5. Response to Paragraph 30: Deny. Carlin became “argumentative” with Cuney when she

     instructed him to hand over everything he had. Ex. 11, p. 2.

  6. Response to Paragraph 32: Deny. STC complained to Ms. MacDonald about Titty Touch

     Tuesday and Slap Ass Friday in September of 2016. Ex. 10, 110:5-16.

  7. Response to Paragraph 42: Deny. Officer Cuney contacted Carlin on May 15, 2017 to

     request all documents he had. Ex. 11, p. 2.

  8. Response to Paragraph 45: Deny. STC and her mother agreed only because her only other

     option was to be placed in classes with boys you assaulted her. Ex. 6, ¶ 53-59.

  9. Response to Paragraph 46: Deny. STC and her mother agreed only because her only other

     option was to be placed in classes with boys you assaulted her. Ex. 6, ¶ 53-59.

  10. Response to Paragraph 47: Deny. Defendant Gomez could have moved whomever he wanted

     and instead hid behind this excuse while at the same time, Defendant Carlin was intentionally

     withholding information from the Police despite their efforts to obtain such information.

  11. Response to Paragraph 49: Deny to the extent that this allegation suggests that the police

     were not moving the investigation along fast enough. This was based on the school’s




                                                                                                      2
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 3 of
                                     20




     representations to A.C. Ex. 12, 41:1-8. Instead, A.C. learned that the school was withholding

     evidence from the police. Ex. 7, ¶ 13.

  12. Response to Paragraph 53: Deny. A.C. did email Allison MacDonald on August 24, 2017 to

     inform MacDonald that STC was struggling with seeing R.S. and S.S. everyday, dealing with

     “dirty looks and comments from their friends.” Ex. 13. A.C. also stated that STC felt it was

     “unfair that she is the one who has to make all of the changes and deal with all of this.” Id.

     A.C. then wondered whether given the school’s failure to keep STC safe, whether STC

     should “just complete her middle school years online.” Id. This was not a question, but

     instead was an acknowledgement that the school was unwilling to provide STC with a safe

     learning environment. Ex 7, ¶¶ 37-41.

  13. Response to Paragraph 60: Deny. STC only agreed because the school was unwilling to

     provide her with a safe environment. Ex. 6, ¶ 53-59.

  14. Response to Paragraph 64: Deny. Carlin told Cuney that he “doesn’t feel he needs to share

     this information with police with concern for student’s privacy. Ex. 11, p. 5.

  15. Response to Paragraph 65: Deny. Carlin was argumentative and said that he would call the

     district and Detective Johnson. Id.

  16. Response to Paragraph 67: Deny. AC told Ms. MacDonald that the school had all the things

     that she and STC had wanted in a school. STC was not happy with being forced out of

     honors classes. Ex. 7, ¶¶ 41-42.

  17. Response to Paragraph 68: Deny. STC did not tell any “classmates” that she was raped by a

     male classmate. STC shared her assaults with a classmate who called STC’s assaults a rape.

     Ex. 6, ¶ 62; Ex. 14.




                                                                                                      3
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 4 of
                                     20




  18. Response to Paragraph 72: Deny. STC was not good with this conversation. STC was told by

     Gomez that she shouldn’t tell anyone about her assaults. STC believed she shouldn’t be

     silenced about her assaults, particularly on school grounds. Ex. 6, ¶¶ 63-65.

  19. Response to Paragraph 77: Deny. AC was told by the Wheat Ridge police that she could not

     obtain a protective order until the school provided the full information. STC, a child at the

     time, did not have the knowledge opposing counsel suggested to her during her deposition.

     Ex. 7, ¶ 30.

  20. Response to Paragraph 86: Deny. STC did provide names of her assailants. Ex. 6, ¶¶ 70-71;

     Ex. 15; Ex. 16..

  21. Response to Paragraph 88: Deny. STC did provide names of her assailants. Ex. 6, ¶¶ 70-71;

     Ex. 15; Ex. 16..

  22. Response to Paragraph 112: Deny. Mr. Gomez did not testify that he heard rumors. Gomez

     stated that “within a year or two of his arrival at Everitt in the fall, September…several

     students would come to [him] and say ‘I need to talk to you Mr. Gomez.’ And they would say

     that they’ve been hearing that this has been happening in the school.” These students were

     “concerned about it possibly happening to them.” Additionally, students came forward to tell

     Mr. Gomez about their own assaults. Lastly, here are no records to indicate that any assembly

     was held on the topic of Titty Touch Tuesday or Slap Ass Friday. Ex. 17, 55:8-24, Ex. 3, ¶¶

     13-14; Ex. 18, Requests for Production Nos. 4-6.

  23. Response to Paragraph 113: Deny. There are no records to indicate that any assembly was

     held on the topic of Titty Touch Tuesday or Slap Ass Friday. Ex. 18.




                                                                                                     4
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 5 of
                                     20




  24. Response to Paragraph 118: Deny. Students complained about Titty Touch Tuesday and Slap

     Ass Friday. Ex. 3, ¶¶ 13-14.

                      STATEMENT OF ADDITIONAL DISPUTED FACTS

  25. For nearly a decade before STC arrived at Everitt Middle School, female students were

     subjected to weekly sexual harassment and assault. Ex. 1, ¶¶ 1-7; Ex. 2 ¶¶ 1-7; Ex. 3, ¶¶ 1-9;

     Ex. 4, ¶¶ 1-6; Ex. 5, ¶¶ 1-7; Ex. 9, ¶¶ 1-7.

  26. This culture of sexual assault had a name: Titty Touch Tuesday and Slap Ass Friday. Id.

  27. Between at least 2010 and 2018, a generation of female students had their breasts groped on

     Tuesdays and their butts slapped on Fridays in the hallways of Everitt on a weekly basis. Id.

  28. From as early as his first year, girls began to come to Mr. Gomez seeking protection. Ex. 17,

     54:24-55:24; Ex. 3, ¶¶ 13-14.

  29. Mr. Gomez was approached across multiple years with complaints about Titty Touch

     Tuesday and Slap Ass Friday. Ex. 17, 54:24-55:24

  30. Gomez admits that these girls came to him because they were concerned about being

     assaulted under Titty Touch Tuesday and Slap Ass Friday. Ex. 17, 55:23-24.

  31. Nonetheless, Mr. Gomez dismissed the seriousness of these girls’ requests, treating them as

     rumors instead of what they were: complaints of sexual harassment and failing to investigate

     these girls’ concerns. Ex. 17, 54:24-55:24; Ex. 19, 63:5-16.

  32. At the same time, Mr. Gomez instructed students that if they were the victims of sexual

     harassment or assault, they should inform “a trusted adult.” Ex. 20, 35:18-22.

  33. Teachers, and even custodians, could be trusted adults. Ex. 20, 35:23-36:17.




                                                                                                      5
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 6 of
                                     20




  34. And female students did report their assaults under Titty Touch Tuesday and Slap Ass Friday

     to teachers and counselors nearly every year between 2010 and 2018. Ex. 3, ¶¶ 11-14; Ex. 8,

     ¶¶ 5-7.

  35. Teachers also witnessed Titty Touch Tuesday and Slap Ass Friday in the hallways between

     periods. Ex. 1 ¶¶ 8-9; Ex. 2 ¶¶ 8-10; Ex. 3, ¶ 14; Ex. 4, ¶¶ 7-8; Ex. 5, ¶ 8; Ex. 5, ¶ 12.

  36. However, teachers did nothing to stop it. And the school did nothing to stop it; no assemblies,

     no discussions in class, no loudspeaker announcements - nothing. Ex. 1 ¶¶ 10, 15; Ex. 2 ¶¶

     10-13; Ex. 3, ¶¶ 15-18; Ex. 4, ¶ 9; Ex. 5, ¶¶ 10; Ex. 8, ¶ 8; Ex. 5, ¶ 14; Ex. 18.

  37. There is no evidence that the school took any action to address Titty Touch Tuesday nor Slap

     Ass Friday with students or teachers. Ex. 18.

  38. Titty Touch Tuesday was not a game. It was a culture of serious sexual harassment and

     assault, one that affected many girls, limiting their high school experiences, causing them to

     walk through the hallways trying to protect themselves with their backpacks covering their

     butts and binders, and it continued to affect these students later in life. Ex. 1 ¶ 14, Ex. 2 ¶¶ 9,

     14; Ex. 3, ¶¶ 19-22; Ex. 4, ¶¶ 11, 13; Ex. 5, ¶¶ 9, 12; Ex. 5, ¶ 16.

  39. Unfortunately for many of these female students, Titty Touch Tuesday and Slap Ass Friday

     were so pervasive and the school was so permissive that they came to believe that this was a

     normal thing in a girls’ life and didn’t even report it. Ex. 1 ¶ 12, Ex. 2 ¶¶ 9, 13; Ex. 4, ¶ 10;

     Ex. 5, ¶ 11.

  40. Everitt also promoted a sexist policy where when girls, but only girls, were cited for a dress

     code violation or bled through their pants while menstruating, they were forced to wear




                                                                                                         6
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 7 of
                                     20




     bright orange clothes called “Oops clothing” to humiliate them. Ex. 1 ¶¶ 17-19; Ex. 4, ¶¶ 12;

     Ex. 9, ¶¶ 17..

  41. When STC arrived at Everitt, she was told about Titty Touch Tuesday and Slap Ass Friday as

     part of an informal orientation for seventh graders. E. 6, ¶¶ 2-5.

  42. STC was subjected to Titty Touch Tuesday and Slap Ass Friday every week. Id. at ¶¶ 6-7.

  43. As with previous years, Titty Touch Tuesday and Slap Ass Friday were widespread and

     normalized and done in the presence of teachers while STC was at Everitt. Id. at ¶¶ 8-14.

  44. Nonetheless, STC reported Titty Touch Tuesday and Slap Ass Friday to her counselor,

     Allison MacDonald, a trusted adult. Id. at ¶¶ 15-18.

  45. Ms. MacDonald didn’t investigate or report this incident. Id. at ¶ 19.

  46. The school’s indifference confirmed to her that this was normal. Id. at ¶¶ 19-20.

  47. Over the course of her seventh grade year, STC was assaulted between sixty and one hundred

     times under Titty Touch Tuesday and Slap Ass Friday on and off school campus, mostly by

     two friends, S.R. and R.R. Id. at ¶¶ 10, 21-25.

  48. Towards the end of the school year, STC reported these assaults to Carlin. Id. at ¶¶ 26-41.

  49. Mr. Carlin’s response was that this is how boys show you that they like you. Id. at ¶¶ 36-38,

     Ex. 7, ¶ 9.

  50. At this point, Mr. Carlin obtained written confessions from both of the boys, but withheld

     these confessions from the Wheat Ridge Police. Ex. 21.

  51. STC was not permitted to take her final exams while the boys did. Ex. 6, ¶¶ 42-43, Ex. 7, ¶

     11.




                                                                                                      7
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 8 of
                                     20




  52. Over the summer, these boys continued to harass STC. STC’s mother tried unsuccessfully to

     obtain a restraining order. Ex. 6, ¶ 44, Ex. 7, ¶¶ 12-15.

  53. When schedules came out for eighth grade the following August, STC discovered that she

     had been placed in classes with each of her assailants. Ex. 6, ¶¶ 45-46, Ex. 7, ¶¶ 17-20.

  54. STC and her mother went to speak with Principal Gomez about making sure that STC

     wouldn’t be forced to take classes with her assailants. Ex. 23; Ex. 6, ¶¶ 47-48, Ex. 7, ¶ 21.

  55. Mr. Gomez offered only to move STC from the classes with these boys. Ex. 6, ¶ 49, Ex. 7, ¶¶

     22-29.

  56. At that time, Everitt was split into two hallways, one with the advanced classes and one with

     the remedial classes. Ex. 6, ¶ 50.

  57. Mr. Gomez stated that STC could either take advanced classes with her assailants or move to

     the remedial classes. Id. at ¶¶ 51, 53, Ex. 7, ¶ 24.

  58. Mr. Gomez did not want to interrupt the schedules of STC’s attackers. Ex. 6, ¶ 52.

  59. Faced with this choice, STC unhappily chose remedial classes over being in the same room

     as her assailants. Id. at ¶ 53-59.

  60. Within a few weeks of school beginning, STC was moved to a virtual academy for science.

     Ex. 24.

  61. At this same time, STC’s mother was still trying to get a restraining order, but the Wheat

     Ridge Police told her Mr. Carlin was withholding evidence. Ex. 7, ¶¶ 29-30.

  62. Mr. Carlin was aggressive with one officer and refused to provide the confessions he had

     obtained. Ex. 11.




                                                                                                      8
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 9 of
                                     20




  63. This led the Wheat Ridge Police to prepare charges for obstruction of a police officer against

     Tim Carlin. Ex. 11.

  64. As soon as the school year began, the friends of the boys began harassing STC. Ex. 13.

  65. STC began to talk about her assaults and wear clothes reminiscent of the Me Too movement.

     Mr. Gomez told STC to stop talking about her assaults. Ex. 6. at ¶¶ 63-65.

  66. After STC’s assailants were removed from the school, STC’s assaillants’ friends began to

     step up their harassment in the halls. Id.. at ¶¶ 66-68.

  67. STC and her mother reported this ongoing harassment to the school. Id at ¶¶ 69, Ex. 7, ¶¶

     31-36, 48-52, Ex. 22.

  68. When STC spoke with Gomez and Ms. MacDonald, she gave them the names of the students

     who had been calling her a slut and a whore and locations of her assaults. Ex 6. at ¶¶ 70-72.

  69. Mr. Gomez then sent an email to STC’s mother stating that he “took action with those that

     STC states are involved.” Ex. 16.

  70. It appears this was a meeting with eight boys where Gomez issued a warning and no

     consequences. Ex. 15.

  71. Nonetheless, these boys continued to harass STC. She continued to complain to Gomez, but

     no further action was taken. Ex. 6, ¶¶ 78-81.

  72. This failure to protect STC led her to slowly withdraw from class, spending most of her days

     in the counselor's office where she was safe from harassment. Id. at ¶¶ 82-85. Ex. 7, ¶¶ 52-54

  73. Ultimately, STC dropped out of the JeffCo school district because of her experiences at

     Everitt. Ex. 6, ¶¶ 86-88, Ex. 7, ¶ 54.

                                              ARGUMENT




                                                                                                     9
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 10 of
                                      20




     I.    THE IS A DISPUTE OF FACT AS TO EACH OF PLAINTIFF’S THREE CLAIMS

           UNDER TITLE IX

          A. TITLE IX STANDARD

           Title IX provides in relevant part, "'no person . . . shall, on the basis of sex, be excluded

   from participation in, be denied the benefits of, or be subjected to discrimination under any

   education program or activity receiving Federal financial assistance.'" Davis v. Monroe County

   Bd. of Educ., 526 U.S. 629, 143 (quoting 20 U.S.C. § 1681(a) (1994)). Title IX is enforceable

   through an implied private right of action for which money damages are available. See id.

          B. There Is A Genuine Dispute Of Fact As To Plaintiff’s Assaults

           Defendants misapprehend the law as it relates to Plaintiff’s First claim under Title IX.

   Plaintiff’s First Claim for relief is properly evaluated under the Davis standard.

           Defendants propose that Plaintiff’s First Claim under Title IX should be evaluated under

   the Simpson standard. Simpson v. Univ. of Colo. Boulder, 500 F.3d 1170 (10th Cir. 2007). The

   Simpson court established a standard for a unique scenario: when a school institutes an official

   policy for which it should be aware of the obvious risk to students. See Horocofsky v. City of

   Lawrence, 2022 WL 1421554, *37-38 (D. Kan. May 5, 2022) (“The deliberate indifference

   standard of Simpson is a limited exception to the requirement in Davis that a recipient of Title IX

   funds is only responsible for sexual harassment in programs or activities under its control. The

   standard is ‘confined to circumstances where a federal funding recipient sanctions a specific

   program that, without proper control, would encourage sexual harassment and abuse such that

   the need for training or guidance is obvious.’"). Here, Plaintiff has not alleged that Titty Touch




                                                                                                           10
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 11 of
                                      20




   Tuesday or Slap Ass Friday were school-sanctioned programs. Accordingly, the Davis standard

   is the correct standard to apply to Plaintiff’s First Claim.

              A school district may be liable under Title IX if it (1) has actual knowledge of, and (2) is

   deliberately indifferent to, (3) harassment that is so severe, pervasive and objectively offensive as

   to (4) deprive access to the educational benefits or opportunities provided by the school. Murrell

   v. Sch. Dist. No. 1, Denver, Colo., 186 F.3d 1238, 1246 (10th Cir. 1999). Here, Defendants only

   contest that Everitt was not deliberately indifferent to Titty Touch Tuesday and Slap Ass Friday.

              The record contains evidence that Principal Gomez, a responsible individual under Title

   IX, had actual knowledge of Titty Touch Tuesday and Slap Ass Friday. SADF1 ¶ 29. The record

   also contains evidence that Titty Touch Tuesday and Slap Ass Friday were severe, pervasive, and

   so objectively offensive that they deprived Plaintiff of educational benefits and opportunities.

   SADF ¶¶ 25-27, 38.

              For nearly a decade female Everitt students were subjected to sexual assault and

   harassment in the halls of their middle school. There is no proof that the school took any action

   to address this issue. Indeed, Principal Gomez never even investigated student complaints. SADF

   ¶ 31. The school held no assemblies, loudspeaker announcements, or classroom discussions ever

   occurred. SADF ¶¶ 36-37. This is all in spite of the fact that teachers watched this happen in the

   hallways every week. SADF ¶ 35. The school could have produced a single teacher, a single

   record, a single email, substantiating that the school took efforts to address this pervasive culture.

   SADF ¶ 36. All Defendants can offer is the deposition testimony of a Principal who has been

   confronted with failings which caused serious trauma to an untold number of female students for




   1
       Statement of Additional Dispute Facts


                                                                                                         11
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 12 of
                                      20




   whom he was supposed to protect. SADF ¶ 38. There is a serious question of material fact as to

   whether the school took any action at all to address these complaints made by female students.

   However, even Defendant Gomez’s characterization of those complaints shows the indifference

   he had to them. He didn’t investigate. SADF ¶ 31. He didn’t take them seriously. Instead, he just

   called them rumors in spite of the experiences of many girls and never took any further action.

   Moreover, even if Defendant Gomez had taken some actions at some point, as he learned that his

   efforts had not resulted in protection of female students at Everitt, his failure to take other,

   additional actions amounts to deliberate indifference.

          Lastly, Defendants’ argument that Titty Touch Tuesday and Slap Ass Friday were simply

   “games” and “juvenile behavior” show the lack of seriousness with which Defendants addressed

   this disgusting culture in their school. Boys grabbing girls’ breasts in the hallways and slapping

   girls’ butts is not a game. It certainly wasn’t for many female students. SADF ¶ 38. This is

   sexual assault. Whether some children may not have meant for it to be assault is beyond the

   point. Defendants were entrusted with twelve and thirteen and fourteen year olds - children in the

   formative years of their lives. They should have received guidance, education on proper personal

   boundaries - and what is and is not sexual harassment. The school failed to provide such counsel

   for ten years and even now, seeks to diminish the seriousness of their failures. Their argument

   makes clear that Defendants were indifferent to the very real experiences of hundreds of female

   students under their watch.

        C. A Reasonable Jury Could Find In Favor of STC on Claims 2 & 3

          Plaintiff has brought three Title IX claims: the first for her assaults under Titty Touch

   Tuesday and Slap Ass Friday as discussed above (Claim 1), the second for being denied




                                                                                                      12
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 13 of
                                      20




   educational opportunities at school on account of her sex (Claim 2), and the third for being

   subjected to additional sexual harassment by her assailants’ friends during eighth grade (Claim

   3).

                      1. STC was Denied Educational Opportunities on Account of Her Sex

          Plaintiff does not base her second claim on Defendant Carlin’s conduct in obstructing the

   police investigation into her assault or in the time it took Defendant Gomez to issue his Title IX

   letter. STC bases her deprivation of access to educational benefits on her being moved from the

   advanced and honors classes so that her attackers wouldn’t be inconvenienced. SADF ¶¶ 50-58.

   STC was forced out of honors classes, was forced to take her science class online in the

   counselor's office and ultimately, was forced to spend a significant portion of her eighth grade

   year in the counselors’ office. SADF ¶¶ 60, 72. While it is certainly true that students do not

   have the right to make a particular remedial demand, that is not what is at issue here. Remedial

   demands as contemplated in Escue, relying upon Theno and Adler, speak to whether the remedial

   and preventive action was "reasonably calculated to end the harassment." Adler v. Wal-Mart

   Stores, 144 F.3d 664, 676, (10th Cir. 1998); Theno v. Tonganoxie Unified Sch. Dist. No. 464, 377

   F. Supp. 2d 952, 976, (D. Kan. 2005); Escue v. N. Okla. College, 450 F.3d 1146, 1154, (10th Cir.

   2006). Here, Plaintiff isn’t didn’t demand a certain action to end her harassment - she demanded

   access to honors classes. She was denied such access so as to allow her assailants’ schedules to

   not be disrupted. A reasonable jury could conclude that on these facts that STC was denied an

   educational opportunity on the basis of her gender.

                      2. Everitt was Deliberately Indifferent to STC’s Sexual Harassment by her

                          Assailants’ Friends




                                                                                                      13
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 14 of
                                      20




          STC’s third claim arises from the school’s failure to take any action to protect her from

   sexual harassment by her assailants’ friends. STC was repeatedly called a whore and a slut for

   coming forward with her allegations of sexual assault. SADF ¶¶ 67-68. STC gave the school the

   names of her harassers. SADF ¶¶ 68-70. Gomez had a meeting with these boys and issued a

   warning. SADF ¶ 70. However, this warning had no effect and the boys continued to harass STC.

   SADF ¶ 71. STC continued to complain about this harassment, but no further action was taken.

   Id. This led STC to withdraw from class and spend more of her time in the counselor’s office.

   SADF ¶ 72. It is the failure of Gomez and the school to continue to address these concerns that

   forms the basis of STC’s third claim.

          Defendants instead base their entire argument on STC’s inability to identify her

   assailants. However, the record is clear that STC did. SADF ¶¶ 68-69. Gomez spoke with eight

   boys the day STC met with MacDonald. Gomez wrote STC’s mother an email where he stated

   that he “took action with those that STC states are involved.” The record is clear that the school

   was provided the names of her assailants. The record is clear that there is evidence which

   supports each element of a student-on-student sexual harassment claim under the Davis standard:

   1) Mr. Gomez knew about STC’s harassment and continued harassment in retalation for her

   sexual assault reporting, SADF ¶¶ 66-68; 2) STC continued to complain about her continued

   sexual harassment by these boys, SADF ¶ 71; and this harassment caused STC to be deprived of

   educational opportunities. SADF ¶¶ 72-73.

    II.   Emotional Distress Damages Under Title IX

          Plaintiff concedes that the Supreme Court’s decision in Cummings protects school

   districts from damages for emotional distress they cause in claims brought under Title IX.




                                                                                                      14
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 15 of
                                      20




   III.    Municipal Liability Under Equal Protection

           Plaintiff concedes that neither Defendant was a final policymaker under Colorado statute

   and that accordingly, Plaintiff’s claims against Jefferson County School District R-1 under 1983

   for violation of Equal Protection should be dismissed.

   IV.     Equal Protection

          A. There is a Dispute of Fact as to Whether STC Was Discriminated on Account of Her

             Gender

           “The Equal Protection Clause of the Fourteenth Amendment commands that no State

   shall ‘deny to any person within its jurisdiction the equal protection of the laws,’ which is

   essentially a direction that all persons similarly situated should be treated alike.” City of

   Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439, 105 S.Ct. 3249, 87 L.Ed.2d 313 (1985); see

   also Barney v. Pulsipher, 143 F.3d 1299, 1312 (10th Cir. 1998) (“In order to assert a viable equal

   protection claim, plaintiffs must first make a threshold showing that they were treated differently

   from others who were similarly situated to them.”). Thus, to establish an equal protection

   violation, a Plaintiff must allege facts that the Defendant treated them differently than other

   similarly situated prisoners. Individuals are “similarly situated” only if they are alike “in all

   relevant respects.” Coal. for Equal Rights, Inc. v. Ritter, 517 F.3d 1195, 1199 (10th Cir. 2008)

   (quotation marks omitted). Moreover, to state a race-based equal protection claim, “[a] plaintiff

   must sufficiently allege that defendants were motivated by racial animus.” Phelps v. Wichita

   Eagle–Beacon, 886 F.2d 1262, 1269 (10th Cir. 1989).

           As this Court has already determined STC and her attackers were “similarly situated”

   individuals for the purpose of a Gender Discrimination claim. ECF No. 52. The record is also




                                                                                                       15
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 16 of
                                      20




   clear that STC was denied access to honors classes and eventually made to take her science

   course via a virtual academy while her attackers were allowed to remain in the honors class.

   SADF ¶¶ 53-60. And the facts support that Defendant Gomez was the school officer who

   determined that STC would be moved. Id. Indeed, Defendants make no argument relating to

   STC’s Fourth claim other than that they “arranged - at the family’s request - to have STC’s

   schedule changed.” However, that is not what happened. STC’s schedule was changed because

   she was faced with the false choice of class with her attackers or a different remedial class.

   SADF ¶¶ 59. But the crux of this claim is that Defendants intentionally placed the interests of the

   male students, the ones who had assaulted STC, above hers and that this was done to protect the

   boys while making the female victim of a sexual assault make all of the sacrafices. That is a clear

   violation of the Equal Protection.

        B. There is a Dispute of Fact as to Whether Defendants Engaged in Deliberate

             Indifference to Sexual Harassment

            A governmental official may be held liable under section 1983 upon a showing of

   deliberate indifference to known sexual harassment. Although conduct by a state actor is

   required in order to support a claim under section 1983 and the primary conduct in this case is

   that of a student, the 10th Circuit has found the possibility of state action where "a supervisor or

   employer participates in or consciously acquiesces in sexual harassment by an outside third party

   or by co-workers." Noland v. McAdoo, 39 F.3d 269, 271 (10th Cir. 1994) see also Murrell v.

   School Dist. No. 1, 186 F.3d 1238, 1250, (10th Cir. 1999). Here, Plaintiff has already established

   the factual underpinnings of this claim in her argument relating to Claims 1 and 3 in Section I

   above.




                                                                                                      16
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 17 of
                                      20




           Given how pervasive Titty Touch Tuesday and Slap Ass Friday were in Everitt Middle

   School, a reasonable jury could conclude that both Defendant Carlin and Defendant Gomez had

   knowledge of this harassment and acquiesced to it. Moreover, Defendant Gomez has admitted

   that he was aware of Titty Touch Tuesday and Slap Ass Friday and there is evidence that students

   complained to him about it. SADF ¶ 29. Lastly, Defendants specifically told students that they

   should report any issues of sexual harassment to “any trusted adult.” SADF ¶ 32. Students did

   report Titty Touch Tuesday and Slap Ass Friday to teachers who were their trusted adults. SADF

   ¶ 34. Defendants instituted a process by which they were put on notice of this culture. It’s

   reasonable to infer that teachers reported these complaints about Titty Touch Tuesday and Slap

   Ass Friday to Defendants as part of their process.

           Additionally, the record supports a dispute of fact as to whether Defendant Gomez knew

   about STC’s continued sexual harassment in retalation for her complaints against S.S. and R.S.

   SADF ¶ 67. The record also supports a finding that Defendant Gomez was indifferent to STC’s

   continued complaints of sexual harassment. SADF ¶ 71. Accordingly, Plaintiff has raised

   sufficient facts to establish a dispute of fact as to her fifth claim for Deliberate Indifference to

   Sexual Harassment under the Equal Protection clause.

    V.     Defendants Failed to Contest Individual Claims for Failure to Train

           Defendants only raise an argument as to the School District’s Failure to Train claim under

   Plaintiff’s Seventh Claim for Relief. However, Plaintiff brought failure to train claims against

   Defendants Jeff Gomez and Tim Carlin as well. Accordingly, Plaintiff will only address

   Defendants’ argument as to the failure of the School District to train as Defendants Gomez and

   Carlin have failed to raise any issue as to claims of failure to train brought against them. The




                                                                                                          17
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 18 of
                                      20




   10th Circuit recognizes Failure to Train claims against individuals under § 1983. See Dodds v.

   Richardson, 614 F.3d 1185 (10th Cir. 2010). Defendants have produced not a single email prior

   to Plaintiff’s harassment and assault realting to responses to sexual harassment, no weekly

   meeting agenda, no documents or communications on assemblies on responding to Titty Touch

   Tuesday or Slap Ass Friday, nor any other materials which relate to the training of teachers on

   how to respond to sexual harassment and assault and in particular, how to respond to the culture

   of Titty Touch Tuesday and Slap Ass Friday. SADF ¶¶ 36. Defendants have cited only to having

   parents review handbooks - not training on how to address and stop the culture of harassment

   which was endemic at Everitt Middle School. A culture where students are assaulted in the

   hallways for nearly a decade while teachers watch without intervening is evidence of a failure by

   individual Defendants to train such teachers on how to respond to this troubling culture. SADF

   ¶¶ 34-38. Defendants were aware of Titty Touch Tuesday and the failure to train their teachers to

   appropriately respond constitutes deliberate indifference to the constitutional rights of female

   students to be free from sexual harassment. If teachers had been properly trained on how to

   respond to Titty Touch Tuesday and Slap Ass Friday, they would have been equipped to stop

   such sexual assaults. Accordingly, there is an issue of fact as to Defendants’ individual liability

   for failure to train the teachers they supervised.

          Plaintiff concedes that her claim against the Jefferson County School District R-1 for

   failure to state a claim should be dismissed.

   VI.    Defendants Are Not Entitled to Qualified Immunity

          “In an action under section 1983, individual defendants are entitled to qualified immunity

   unless it is demonstrated that their alleged conduct violated clearly established constitutional




                                                                                                         18
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 19 of
                                      20




   rights of which a reasonable person in their positions would have known. See Harlow v.

   Fitzgerald, 457 U.S. 800, 818, 73 L. Ed. 2d 396, 102 S. Ct. 2727 (1982). In order for the law to

   be clearly established, "there must be a Supreme Court or other Tenth Circuit decision on point,

   or the clearly established weight of authority from other circuits must have found the law to be as

   the plaintiff maintains." Medina v. City and County of Denver, 960 F.2d 1493, 1498 (10th Cir.

   1992). In [the 10th Circuit] circuit, it has been clearly established since…1989 in Starrett v.

   Wadley, 876 F.2d 808, 814 (10th Cir. 1989), that "sexual harassment . . . can violate the

   Fourteenth Amendment right to equal protection of the laws." See Woodward v. City of Worland,

   977 F.2d 1392, 1398 (10th Cir. 1992). Moreover, it has been clearly established since at least

   1992 that a person who exercises the state's supervisory authority may be held liable for

   consciously acquiescing in sexually harassing conduct by a non-state actor over whom the state

   actor has authority. Id. at 1401.” Murrell v. School Dist. No. 1, 186 F.3d 1238, 1251, (10th Cir.

   1999).

            In Murrell, the 10th Circuit held that the to to be free from a failure to remedy sustained

   sexual harassment and assault was clearly established under the Equal Protection Clause.

   Accordingly, Plaitntiff’s Fifth Claim - to be free from deliberate indifference to known sexual

   harassment, was clearly established in 2017. Accordingly, Defendants’ argument as to qualified

   immunity under Equal Protection should be denied.

                                             CONCLUSION

            WHEREFORE, Plaintiff respectfully requests that this Court deny Defendants’ Motion

   for Summary Judgment.



            Respectfully submitted this 20th day of October 2023.


                                                                                                       19
Case No. 1:20-cv-00078-CMA-KAS Document 142 filed 10/20/23 USDC Colorado pg 20 of
                                      20




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